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                 14 Telecommunications America, LLC

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                                                    UNITED STATES DISTRICT COURT
                 16
                                     NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                 17
                        APPLE INC., a California corporation,        CASE NO. 11-cv-01846-LHK
                 18
                                      Plaintiff,
                 19
                               vs.
                 20
                    SAMSUNG ELECTRONICS CO., LTD., a                 [PROPOSED] ORDER GRANTING
                 21 Korean business entity; SAMSUNG                  SAMSUNG’S MOTION TO COMPEL
                    ELECTRONICS AMERICA, INC., a New                 APPLE TO PRODUCE RECIPROCAL
                 22 York corporation; SAMSUNG                        EXPEDITED DISCOVERY
                    TELECOMMUNICATIONS AMERICA,
                 23 LLC, a Delaware limited liability company,

                 24                   Defendants.

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02198.51855/4162249.1                                                                  Case No. 11-cv-01846-LHK
                                                     [PROPOSED] ORDER GRANTING SAMSUNG’S MOTION TO COMPEL
                                                          APPLE TO PRODUCE RECIPROCAL EXPEDITED DISCOVERY
                         Case 5:11-cv-01846-LHK Document 56-1 Filed 05/27/11 Page 2 of 2




                   1                                       [PROPOSED] ORDER
                   2         Before the Court is Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.,
                   3 and Samsung Telecommunications America, LLC’s (collectively “Samsung”) Motion to Compel

                   4 Apple to Produce Reciprocal Expedited Discovery (the “Motion”).

                   5         Having considered Samsung’s Motion, the declarations cited therein, and all pleadings and

                   6 other papers in support thereof; and the Opposition filed by Apple Inc. (“Apple”), all declarations

                   7 cited therein, and all pleadings and other papers in support thereof; and any further argument or

                   8 evidence presented by the parties; the Court concludes that good cause exists for Samsung’s

                   9 Motion. The Court therefore ORDERS that Apple shall produce the following by June 17, 2011:

                 10          (1) The latest iteration of a product sample of the next generation iPhone that Apple will
                 11          release, whether that product will be known as the “iPhone 4S,” “iPhone 5,” or some other
                 12          name;
                 13          (2) The latest iteration of a product sample of the next generation iPad that Apple will
                 14          release, whether that product will be known as the “iPad 3,” “Third Generation iPad,” or
                 15          some other name;
                 16          (3) The latest iteration of the packaging in which the next generation iPhone and iPad will
                 17          be sold; and
                 18          (4) The latest iteration of the package insert(s) for the next generation iPhone and iPad.
                 19          This discovery shall be produced with the designation “Outside Counsel Eyes Only” and

                 20 shall not be provided to Samsung or its in-house counsel.

                 21          IT IS SO ORDERED.

                 22 DATED: _________, 2011
                                                                     LUCY H. KOH
                 23                                                  United States District Judge
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02198.51855/4162249.1                                                                  Case No. 11-cv-01846-LHK
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                                                     [PROPOSED] ORDER GRANTING SAMSUNG’S MOTION TO COMPEL
                                                          APPLE TO PRODUCE RECIPROCAL EXPEDITED DISCOVERY
